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                                Orleans Justice Center
                               60 Day Update – July 2019
Sustainable Hiring
During this 60-day period the Human Resources Division participated in twelve (12) job fairs within
the region. The recruiters continue to note that OPSO is one of the lowest paid agencies present at
most of the job fairs we participate in. Human Resources continue to recruit and hire qualified
candidates capable of staffing the OPSO vacancies, specifically the jail operations.

In May 2019 OPSO hired twenty-one (21) new employees, of which the breakdown was: four (4)
Corrections Monitoring Technicians, four (4) Court Deputies, one (1) Administrative Assistant, one (1)
Sanitation employee, one (1) Payroll Clerk, one (1) Executive Assistant, and nine (9) Deputy-Recruits.
In addition to the new hires in May, fourteen (14) employees separated from OPSO during that same
time frame. The fourteen separations were ranked: one (1) Warden, one (1) Warehouse Clerk, one (1)
Sergeant, one (1) Lieutenant, one (1) Administrative Clerical Specialist, one (1) Civil Division Clerk,
one (1) Agent, and seven (7) Deputy-Recruits. Of the separations, three (3) were due to Retirement,
one (1) was due to Resigning while on suspension, two (2) were due to Resigning for a better job
opportunity, two (2) were due to Job Abandonment, six (6) for Misconduct, and one (1) was for
Personal Reasons.

In June 2019 OPSO hired twenty-seven (27) new employees, of which the breakdown was: six (6)
Case Managers, two (2) Part-time Summer Recruits, four (4) Court Deputies, two (2) Corrections
Monitoring Technicians, one (1) Payroll Specialist, and twelve (12) Deputy-Recruits. During that
same time frame, OPSO separated seven (7) employees. Of the separations, six (6) were due to
Personal Reasons and one (1) for Misconduct.

This reporting period saw a net gain of twenty-seven (27) new hires. With the twenty-seven new hires
for this reporting period, it brings the number of net gain new hires to seventy (70) for the first six
months of 2019.

Policies
Director Hammons and the Policy & Accreditation team continue to work with the Monitors and the
Plaintiffs’ Class to successfully complete the OPSO policies, standard operating procedures, and post
orders. As the documents are completed, OPSO will continue to forward them to the aforementioned
partners for their review and feedback.

During the months of May and June 2019, Director Hammons and her team continued focus was on
completing annual reviews of previously approved policies.

There were a total of twenty-two (22) Policies, twenty-three (23) Standard Operating Procedures and
three (3) Post Orders submitted to the monitors for review.

There were three (3) policies and three (3) Standard Operating Procedures submitted to the Plaintiffs
for review.




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OJC-60 Day Update July 2019


PREA Compliance
The PREA team continues to prepare for the upcoming PREA audit, scheduled for August 23-25 of
2019, and has begun the documentation and data collection process. The submission process for all
documentation will be completed by July 3, 2019 and delivered to the auditor via USPS mail. Also in
preparation for the upcoming audit, the PCM’s have created and posted new flyers to promote sexual
safety and prevent sexual abuse. The PREA team continues to await the return of the restructured
PREA policies (801.26-901.05) and SOPs from the Monitors and Policy Team. A policy is being
written for intake and housing of the female youthful inmates at TDC. OJC is establishing a solution
to solve standard 115.14 Youthful Inmates relative to the sight and sound separation requirement. The
new shower track have been installed as of Friday, June 21, 2019 and is now waiting for the shower
curtains to be installed to resolve the 115.15 Cross-gender viewing to standard. The quotes for
installation of partitions in the intake and processing area along with the TDC have been received by
the Facility Maintenance Director. The PREA team continues to conduct training for all new hires,
re-hires, volunteers and contract staff. All OPSO staff members are currently up-to-date with PREA
training and required refresher courses as training continues through August up to the week of the
PREA audit.

Incident Updates and Outcome Data
Inmate-on-Inmate altercations through the first four months of 2019 continued a downward trend.
However, May & June 2019 saw an increase in Inmate-on-Inmate altercations. The first six-months of
2019 saw an average of thirty-seven (37) of these incidents per month. January, May and June all were
above average with 45, 38, and 51 incidents respectively. The first quarter of 2019 had 105 Inmate-on-
Inmate altercations and the second quarter had 119. The variance represents an increase in incidents
by 13.33%. OPSO staff is currently reviewing the data for each incident to determine the cause of the
significant spike in incidents in June.

Inmate-on-Staff altercations remained steady across the first six months of 2019. There was an
average of 13.5 altercations per month. These incidents continued their downward trend throughout
the entire first six months of the year. The first quarter of 2019 had 44 Inmate-on-Staff altercations
and the second quarter had 37. The variance represents a -15.91% reduction in incidents.

During this reporting period, the number of suicide attempts increased to numbers consistent with what
was presented in January and February 2019. However, these incidents continue to trend downward.
The first quarter of 2019 had 34 Suicide Attempts and the second quarter had 29. The variance
represents a -14.71% reduction in incidents.




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Overall Incidents 2019


                                       2019 Overall Incidents
       60
                                                                                                  51
       50
              45

       40                                                                          38
                                               32
                                                                   30
       30                    28

                                  19
       20
                        15                                              14                   14
                   13                  13           12                                                 12 12
                                                                                        11
       10                                                6
                                                                             3
        0
               Jan-19         Feb-19           Mar-19               Apr-19          May-19         Jun-19

                                  I/M-on-I/M        I/M-on-Staff         Suicide Attempts



NOTE:
Often, OJC’s total reporting numbers are interpreted as the total number of distinct incidents which
occurred in the facility during a given period of time. This is not necessarily correct, as some
incidents appear more than once in the number count because of more than one action occurring
during the same incident. For example, if two inmates are involved in a physical altercation, and a
staff member steps in to separate them, that single incident will appear as one (1) inmate-on-inmate
altercation and one (1) use of force if force is used. If, in that same example, one of the inmates
pushed the staff member, that incident would also be reflected in the numbers as one (1) inmate-on-
staff altercation.

We continue to work to accurately capture all incidents and to timely notify the monitors of those
incidents; we believe that we have made significant progress towards capturing the accurate number
of reportable incidents.

Excessive or Inappropriate Force:
Sergeant Phares and the Force Investigation Team (FIT) continue to review all use of force complaints,
whether reported by a deputy, other staff member, inmate, or civilian. During May and June, seven (7)
complaints were received alleging excessive or inappropriate force. One (1) grievance was closed as a
Justified use of force and Unsubstantiated grievance. Six (6) grievances are currently open.
Preliminary findings indicate one grievance will be substantiated.

During May and June, FIT did not close any cases with a finding of Not Justified or Excessive.




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PREA Incidents
During the month of May 2019, the PREA Investigative Unit conducted nineteen (19) PREA-related
investigations. Those cases were categorized as nineteen (19) Sexual Harassment allegations. Fifteen
(15) of the allegations were UNSUBSTANTIATED, two were UNFOUNDED, and one two (2) remain
OPEN. Additionally, there were thirteen (13) DUPLICATE allegations made.

As for June 2019, the PREA Investigative Unit conducted five (5) PREA-related investigations. Those
allegations were classified as three (3) Sexual Harassment allegations, one (1) Sexual Battery
allegation, and one (1) Sexual Assault allegation. All of the June 2019 cases remain OPEN.




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